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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,                 )
                                      Plaintiff,
                                          )
                                          )
      vs.                                 )                   Case No. 12-40039-01-RDR
                                          )
HASHIEM JAMIL FORD,                       )
                            Defendant.    )
__________________________________________)

                                             ORDER

       NOW on this 29th day of June, 2012, the above-entitled matter comes before the Court upon

the motion of counsel for the accused for an order granting a continuance of the motions hearing.

The Court has reviewed the motion and is fully advised of the premises.

       The Court further finds that the reasons set forth in the motion justify a continuance, and that

the additional time granted pursuant to this Order shall be excludable time as provided for in 18

U.S.C. 3161(h)(7). See, United States v. Toombs, 574 F.3d 1262 (10th Cir. 2009).

       IT IS THEREFORE ORDERED that the motions hearing is rescheduled for July 19, 2012

at 10:30 a.m. The period of delay resulting from such continuance shall be excludable time as

provided for by the Speedy Trial Act, 18 U.S.C. 3161(h)(7).


                                               s/Richard D. Rogers
                                               United States District Judge
